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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                      4:09CR3031
                                                 )
               V.                                )
                                                 )
MICHAEL KONING, LOWELL                           )          MEMORANDUM AND ORDER
BAISDEN, and SUSAN BAISDEN-                      )
KONING,                                          )
                                                 )
                       Defendants.               )

        The defendants have moved to continue the pretrial motion deadline currently set for January
29, 2010. (Filing No. 52 & 53). Defense counsel request an additional ninety days, and explain they
need this additional time to obtain documents potentially missing from the 29,000 documents already
produced, and to isolate and perhaps informally resolve issues over document discrepancies.
Counsel for the government does not oppose the requested continuance. The court finds the motions
to continue should be granted.

       IT IS ORDERED:

       1)      The defendants’ unopposed motions to continue, (filing nos. 52 & 53 ), are granted,
               and the defendants’ pretrial motions and briefs shall be filed on or before April 26,
               2010.

       2)      As previously determined, (see filing no. 21, ¶ 6), this case is “unusual and
               complex;” it would be unreasonable for the court to require counsel and the parties
               to be ready for trial within the time restrictions of the Speedy Trial Act; and therefore
               this case is exempted from the time restrictions of that Act. See 18 U.S.C.
               3161(h)(7)(B)(ii)

       DATED this 23rd day of January, 2010.

                                                       BY THE COURT:

                                                       s/ Cheryl R. Zwart
                                                       Cheryl R. Zwart
                                                       United States Magistrate Judge
